Case 0:23-cr-60117-DSL Document 287-1 Entered on FLSD Docket 06/04/2025 Page 1 of 8




                                                                                      23-cr-60117-DSL




                                                                                         140



                                                                                           Trailer_0001
Case 0:23-cr-60117-DSL Document 287-1 Entered on FLSD Docket 06/04/2025 Page 2 of 8




                                                                                      Trailer_0002
Case 0:23-cr-60117-DSL Document 287-1 Entered on FLSD Docket 06/04/2025 Page 3 of 8




                                                                                      Trailer_0003
ase 0:23-cr-60117-DSL Document 287-1 Entered on FLSD Docket 06/04/2025 Page 4 o




                                                      Trailer_0004
ase 0:23-cr-60117-DSL Document 287-1 Entered on FLSD Docket 06/04/2025 Page 5 o




                                                      Trailer_0005
Case 0:23-cr-60117-DSL Document 287-1 Entered on FLSD Docket 06/04/2025 Page 6 of 8




                                                                     Trailer_0006
Case 0:23-cr-60117-DSL Document 287-1 Entered on FLSD Docket 06/04/2025 Page 7 of 8




                                                                     Trailer_0007
Case 0:23-cr-60117-DSL Document 287-1 Entered on FLSD Docket 06/04/2025 Page 8 of 8




                                                                                      Trailer_0008
